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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                          Case No. 1:25-cv-10810-DJC


STATE OF CALIFORNIA; STATE OF
NEVADA; COMMONWEALTH OF
MASSACHUSETTS; STATE OF ARIZONA;
STATE OF COLORADO; STATE OF
CONNECTICUT; STATE OF DELAWARE;
STATE OF HAWAII; STATE OF ILLINOIS;
STATE OF MAINE; STATE OF
MARYLAND; PEOPLE OF THE STATE OF
MICHIGAN; STATE OF MINNESOTA;
STATE OF NEW JERSEY; STATE OF NEW
MEXICO; STATE OF NEW YORK; STATE
OF RHODE ISLAND; STATE OF
VERMONT; STATE OF WISCONSIN,

                  Plaintiffs,

v.

DONALD J. TRUMP, in his official capacity
as President of the United States; PAMELA
BONDI, in her official capacity as Attorney
General of the United States; UNITED
STATES ELECTION ASSISTANCE
COMMISSION; DONALD L. PALMER, in
his official capacity as Chairman of the U.S.
Election Assistance Commission; THOMAS
HICKS, in his official capacity as Vice Chair
of the U.S. Election Assistance Commission;
CHRISTY McCORMICK and BENJAMIN
W. HOVLAND, in their official capacities as
Commissioners of the U.S. Election
Assistance Commission; PETE HEGSETH, in
his official capacity as Secretary of Defense,

                 Defendants.




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     DEFENDANTS’ MOTION TO TRANSFER AND CONSOLIDATE OR, IN THE
                   ALTERNATIVE, MOTION TO STAY

       On March 25, 2025, President Donald J. Trump issued an Executive Order entitled

“Preserving and Protecting the Integrity of American Elections.” See Exec. Order No. 14,248, 90

Fed. Reg. 14005 (Mar. 25, 2025). Plaintiffs in this action are nineteen States (“Plaintiff States”)

who claim that certain provisions of the Executive Order are unconstitutional, ultra vires, and

violative of separation-of-powers principles. Three cases that challenge the same provisions of

the Executive Order for the same reasons are already pending in the U.S. District Court for the

District of Columbia (the “DDC cases”). Because of their commonalities, the DDC cases were

consolidated to promote, among other things, judicial economy and consistency.

       Pursuant to 28 U.S.C. § 1404(a) and Fed. R. Civ. P. 42(a), Defendants respectfully move

this Court to transfer this case to the District of Columbia and consolidate it with the DDC cases.

Alternatively, should this Court decline to transfer this case, in the interest of judicial economy,

Defendants respectfully move this Court to stay this case pending resolution of the DDC cases.

       In support of this Motion, Defendants respectfully refer the Court to their Memorandum of

Law and accompanying exhibits, filed herewith.

       WHEREFORE, Defendants respectfully request that this case be transferred to the District

of Columbia and consolidated with the DDC cases. Alternatively, Defendants respectfully request

that this matter be stayed pending resolution of the DDC cases.

                                                     Respectfully submitted:

                                                     LEAH B. FOLEY
                                                     United States Attorney



                                              By:    /s/ Nicole M. O’Connor
                                                     Nicole M. O’Connor

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                                                      Nicole.O’Connor@usdoj.gov




                                      7.1 CERTIFICATION

       I, Nicole M. O’Connor, hereby certify that I conferred with counsel for Plaintiffs via virtual
conference on April 23, 2025. I was unable to resolve or narrow the issues for review.

Dated: April 23, 2025                                 /s/ Nicole M. O’Connor
                                                      Nicole M. O’Connor
                                                      Assistant U.S. Attorney



                                 CERTIFICATE OF SERVICE

        I, Nicole M. O’Connor, hereby certify that I served a true copy of the above document upon
all counsel of record via this court’s electronic filing system and upon any non-registered
participants via first class mail.

Dated: April 23, 2025                                 /s/ Nicole M. O’Connor
                                                      Nicole M. O’Connor
                                                      Assistant U.S. Attorney




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